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mMT§D\ST/STES DISTRICT COURT

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_ti._l;l$%rict of Massachusetts

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United States of America

 

To:

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Any authorized law enforcement officer

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ARREST WARRANT -'
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YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without ud`l_')ecessa%' delay
(name ofperson to be arresred) DE|V|ONE CO|_EN|AN _ ,
who is accused of an offense or violation based on the following document filed with the court

 

El Indictment El Superseding indictment

|:I lnformation
G Probation Violation Petition

ij SupersedingInformation ij Complaint
[l Supervised Release Violation Petition

ElViolation Notice |:l Order of the Court
This offense is briefly described as follows:

Distribution of a Contro|led Substance ~ 21 U.S.C. §841(3)(1)

Date: 10131 12017

I.s'sur`ng officer 's signature
City and state: Boston, lVlA

 

Jennifer C. Boa|, United States N|agis’trate Judge
Pr'hztea' nnan and title

 

Return

 

This warrant was received on (¢!are) , and the person was arrested on (dme)
at (cr`f_v amf s!are)

 

Date'.

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P»‘i"fvn' name and rifle

 

 

